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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION
                                  www.flmb.uscourts.gov

In re:                                                     Case No.: 3:16-bk-02230-PMG

                                                           Jointly Administered
RMS TITANIC, INC. et al.,
                                                           Chapter 11
         Debtor.                                       /

      EMERGENCY APPLICATION FOR APPROVAL OF EMPLOYMENT
         OF ROBERT PAUL CHARBONNEAU AND THE LAW FIRM
  OF AGENTIS PLLC AS SPECIAL LITIGATION COUNSEL TO THE OFFICIAL
COMMITTEE OF EQUITY SECURITY HOLDERS NUNC PRO TUNC TO MAY 2, 2018
          (Emergency Hearing Requested for May 21, 2018, at 2:00 p.m.)

         The Official Committee of Equity Security Holders (the “Equity Committee”) of Premier

Exhibitions, Inc. (“Premier”), Chapter 11 Debtor in Case No. 3:16-bk-02232-PMG and the

parent company of RMS Titanic, Inc. (and together with Premier, the “Debtors”), respectfully

requests the entry of an order on a final basis, pursuant to §§ 327(a) and 328(a) of Title 11 of the

United States Code, authorizing the employment of Robert P. Charbonneau (“Charbonneau”)

and the law firm of Agentis PLLC (“Agentis”) to represent the Equity Committee as Special

Litigation Counsel in this case, nunc pro tunc to May 2, 2018 (the “Application”), and states as

follows:

                                 JURISDICTION AND VENUE

         1.      This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157.

         2.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.




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                                              BACKGROUND

         3.      On June 14, 2016, the Debtors filed respective voluntary petitions under Chapter

11 of the United States Bankruptcy Code.

         4.      The Debtors are operating their business and managing their affairs as debtors in

possession pursuant to 11 U.S.C. §§ 1107(a) and 1108.

         5.      No trustee or examiner has been appointed.

         6.      The Equity Committee was appointed by the Office of the United States Trustee

on August 24, 2018 [ECF# 166].

         7.      By letter dated May 1, 2018, the Equity Committee asked the Debtors to pursue

what have been defined in the Emergency Motion of the Official Committee of Equity Security

Holders for Entry of an Order Granting Derivative Standing and Authority to Prosecute and

Settle Certain Claims On Behalf Of the Debtors’ Estates (the “Derivative Standing Motion”)

[ECF #--] as Insider Claims1, D&O Claims, Transfer Claims and other claims (and collectively

with the Insider Claims, D&O Claims, and Transfer Claims , the “Claims”) or to agree to the

Equity Committee’s standing to pursue the Claims. For the reasons set forth in the Derivative

Standing Motion, the Debtors refused to either pursue the Claims or agree to standing.

         8.      Subject to this Court’s approval, the Equity Committee has selected Charbonneau

and Agentis as its special counsel to pursue the Claims.

         9.      The Equity Committee believes that Charbonneau and the attorneys of Agentis

have considerable experience in pursuing and litigating matters similar in nature to the Claims;

that Charbonneau and Agentis are qualified to practice in this Court; and that employing Agentis

is in the best interests of the Equity Committee and the estate in this case.


1
 All capitalized terms used herein shall have the meaning ascribed to them in the Derivative Standing Motion,
unless otherwise defined.

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         10.    The professional services Charbonneau and Agentis will render are summarized

as follows:

                a.       advise and assist the Equity Committee with pursuing insurance and other
                         recoveries in connection with the Claims;

                b.       review and analyze the insurance information and insurance related
                         documents in connection with the Claims, including, but not limited to,
                         any D&O policies issued to the Debtors.

                c.       communicate and negotiate with insurers and other persons subject to the
                         Claims and their respective counsel on behalf of the Equity Committee;

                d.       advise and assist the Equity Committee with respect to settlement
                         negotiations with insurers and other persons subject to the Claims and, if
                         necessary, mediate claims;

                e.       represent the Equity Committee at hearings and other proceedings
                         concerning D&O Claims related issues; and

                f.       take other actions necessary and appropriate to advance the Claims and
                         pursue recovery thereon from insurers and other persons subject to the
                         Claims.

         11.    Agentis proposes to be compensated on a thirty-five percent (35%) contingency

fee basis for representation in this matter unless Agentis is required to take the matter to trial, in

which case the contingency fee shall be increased to forty percent (40%) of any insurance and

other funds in which Agentis is responsible in recovering in pursuit of the Claims for the benefit

of the estate. The date upon which the increase to forty percent (40%) shall become effective

shall be the latter of (i) thirty days before the initial trial date set by order of the Court, or (ii) the

date pre-trial briefs are required to be filed by order of the Court. If costs are incurred and

advanced by Agentis, Agentis will seek reimbursement of those costs from the estate, or any

other source of payment there may be. If the costs remain unpaid, Agentis will not be required to

further advance costs.




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         12.    Based on the foregoing required services, it is necessary for the Equity Committee

to employ an experienced and skilled attorney to perform services as special litigation counsel

for the Equity Committee.

         13.    Agentis understands that the Debtors and the Equity Committee have retained and

may retain additional professionals during the term of the engagement and will work

cooperatively with such professionals to integrate any respective work conducted by the

professionals on behalf of the Debtors and/or the Equity Committee.

         14.    To the best of the Equity Committee’s knowledge, except as disclosed in the

Affidavit of Proposed Special Litigation Counsel for the Official Committee of the Equity

Security Holders sworn to by Charbonneau and filed by Agentis (the “Charbonneau Affidavit”),

neither Charbonneau nor Agentis has any connection with the creditors, the Debtors, or other

parties in interest or their respective attorneys. As set forth in the Charbonneau Affidavit, to the

best of the knowledge of Charbonneau and Agentis, neither Charbonneau nor Agentis represents

any interest adverse to the Debtors, the Estate, or its creditors.

         15.    Because of the extensive legal services required, the Equity Committee desires to

employ Charbonneau and Agentis with compensation to be approved by the Court under the

professional fee application procedures that the Court approves.

         16.    Attached to this Application is the Charbonneau Affidavit demonstrating that

under these circumstances Charbonneau and Agentis are disinterested as required by

11 U.S.C. § 327(a) and defined in 11 U.S.C. § 101(14), and a verified statement as required

under Rule 2014 of the Federal Rules of Bankruptcy Procedure.

         WHEREFORE, the Equity Committee requests an Order approving this Application and

authorizing the retention of Robert P. Charbonneau and the Law Firm of Agentis PLLC as



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Dated: May 14, 2018                           Peter J. Gurfein, Esq.
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                                              Los Angeles, California 90067
                                              (310) 557-0050
                                              (310) 557-0056 (Facsimile)
                                              pgurfein@lgbfirm.com

                                              -and-

                                              AKERMAN LLP
                                              By: /s/ Jacob A. Brown
                                              Jacob A. Brown
                                              Florida Bar No. 170038
                                              50 North Laura Street, Suite 3100
                                              Jacksonville, Florida 32202
                                              (904) 798-3700
                                              (904) 798-3730 (Facsimile)
                                              Jacob.brown@akerman.com
                                              Attorneys for the Official Committee of Equity
                                              Security Holders of Premier Exhibitions, Inc.



                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 14, 2018, the foregoing was transmitted to the Court
for uploading to the Case Management/Electronic Case Files ("CM/ECF") System, which will
send a notice of electronic filing to all creditors and parties in interest who have consented to
receiving electronic notifications in this case. In accordance with the Court's Order Granting
Debtors' Motion for an Order Pursuant to 11 U.S.C. § 105(a) and Rule 2002 Establishing Notice
Procedures (Doc. 140), a copy of the foregoing was also furnished on May 14, 2018 by U.S.
mail, postage prepaid and properly addressed, to the Master Service List attached hereto.

                                                           /s/ Jacob A. Brown
                                                           Attorney




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                               MASTER SERVICE LIST
                              Case No. 3:16-bk-02230-PMG

A-1 Storage and Crane                    ABC Imaging
2482 197th Avenue                        14 East 38th Street
Manchester, IA 52057                     New York, NY 10017

A.N. Deringer, Inc.                      ATS, Inc.
PO Box 11349                             1900 W. Anaheim Street
Succursale Centre-Ville                  Long Beach, CA 90813
Montreal, QC H3C 5H1

Broadway Video                           CBS Outdoor/Outfront Media
30 Rockefeller Plaza                     185 US Highway 48
54th Floor                               Fairfield, NJ 07004
New York, NY 10112

Dentons Canada LLP                       Enterprise Rent-A-Car Canada
250 Howe Street, 20th Floor              709 Miner Avenue
Vancouver, BC V6C 3R8                    Scarborough, ON M1B 6B6

Expedia, Inc.                            George Young Company
10190 Covington Cross Drive              509 Heron Drive
Las Vegas, NV 89144                      Swedesboro, NJ 08085

Gowlings                                 Hoffen Global Ltd.
550 Burrard Street                       305 Crosstree Lane
Suite 2300, Bental 5                     Atlanta, GA 30328
Vancouver, BC V6C 2B5

Kirvin Doak Communications               MNP LLP
5230 W. Patrick Lane                     15303 - 31st Avenue
Las Vegas, NV 89118                      Suite 301
                                         Surrey, BC V3Z 6X2

Morris Visitor Publications              NASDAQ Stock Market, LLC
PO Box 1584                              805 King Farm Blvd.
Augusta, GA 30903                        Rockville, MD 20850

National Geographic Society              NYC Dept. of Finance
1145 - 17th Avenue NW                    PO Box 3646
Washington, DC 20036                     New York, NY 10008
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PacBridge Limited Partners                  Pallet Rack Surplus, Inc.
22/F Fung House                             1981 Old Covington Cross Road NE
19-20 Connaught Road                        Conyers, GA 30013
Central Hong Kong

Ramparts, Inc.                              Screen Actors Guild
d/b/a Luxor Hotel and Casino                1900 Broadway
3900 Las Vegas Blvd. South                  5th Floor
Las Vegas, NV 89119                         New York, NY 10023

Seaventures, Ltd.                           Sophrintendenza Archeologica
5603 Oxford Moor Blvd.                      di Napoli e Pompei
Windemere, FL 34786                         Piazza Museo 19
                                            Naples, Italy 80135

Syzygy3, Inc.                               Time Out New York
231 West 29th Street                        405 Park Avenue
Suite 606                                   New York, NY 10022
New York, NY 10001

TPL                                         TSX Operating Co.
3340 Peachtree Road                         70 West 40th Street
Suite 2140                                  9th Floor
Atlanta, GA 30326                           New York, NY 10018

Verifone, Inc.                              Samuel Weiser
300 S. Park Place Blvd.                     565 Willow Raod
Clearwater, FL 33759                        Winnetka, IL 60093

WNBC - NBC Universal Media                  United States Attorney’s Office
30 Rockefeller Center                       Middle District of Florida
New York, NY 10112                          300 N. Hogan Street, Suite 700
                                            Jacksonville, FL 32202

Jonathan B. Ross, Esq.                      Christine R. Etheridge, Esq.
Gowling WLG (Canada) LLP                    Bankruptcy Administration
550 Burrard Street, Suite 2300, Bentall 5   Wells Fargo Vendor Financial Services, LLC
Vancouver, BC V6C 2B5                       PO Box 13708
                                            Macon, GA 31208
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TSX Operating Co., LLC                 Dallian Hoffen Biotechnique Co., Ltd.
c/o James Sanna                        c/o Ezra B. Jones
70 W. 40th Street                      305 Crosstree Lane
New York, NY 10018                     Atlanta, GA 30328
Creditor Committee                     Creditor Committee

B.E. Capital Management Fund LP
Thomas Branziel
205 East 42nd Street , 14th Floor
New York, NY 10017
Creditor Committee
